Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 1 of 10




                   EXHIBIT B
      Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 2 of 10

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Illinois
                                                                               __________

×² ®» Ñ«¬°¿¬·»²¬ Ó»¼·½¿´ Ý»²¬»® Û³°´±§»» ß²¬·¬®«-¬                            )
Ô·¬·¹¿¬·±²                                                                    )
                               Plaintiff
                                                                              )        Civil Action No. ïæîïó½ªóððíðëóßÎÉóÍÎØ
                                  v.                                          )
                                                                              )
                                                                              )
                              Defendant
                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Ë²·¬»¼ Í¬¿¬»- Ü»°¿®¬³»²¬ ±º Ö«-¬·½»ô ¿¬¬²æ ß²¬¸±²§ Éò Ó¿®·¿²±ô ß²¬·¬®«-¬ Ü·ª·-·±²ô É¿-¸·²¹¬±² Ý®·³·²¿´ ×× Í»½¬·±²ô
                                                      ìëð ë¬¸ Í¬®»»¬ ÒÉô É¿-¸·²¹¬±²ô ÜÝ îðëíð
                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           Ð´»¿-» -»» ¬¸» ¿¬¬¿½¸»¼ Í½¸»¼«´» ßô ¼»¬¿·´·²¹ §±«® ¼±½«³»²¬ °®»-»®ª¿¬·±² ±¾´·¹¿¬·±²- ·² ¬¸·- ³¿¬¬»®ò Ò±
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 Place: ¼¸¿®ª»§à´½¸¾ò½±³                                                                Date and Time:
                                                                                                            ðêñïëñîðîî ïîæðð ¿³

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        ðêñïíñîðîî

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    ñ-ñ Ü»¿² Óò Ø¿®ª»§
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Ð´¿·²¬·ºº-
                                                                        , who issues or requests this subpoena, are:
Ü»¿² Óò Ø¿®ª»§ô îè¬¸ Ú´±±®ô îéë Þ¿¬¬»®§ Í¬®»»¬ô Í¿² Ú®¿²½·-½±ô Ýß çìïïïå ¼¸¿®ª»§à´½¸¾ò½±³å ìïëóçëêóïððð


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
      Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 3 of 10

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. ïæîïó½ªóððíðëóßÎÉóÍÎØ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                ðòðð   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
      Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 4 of 10

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 5 of 10




                                            SCHEDULE A

                                            DEFINITIONS

             1.    “Agreement” means any oral or written contract, arrangement or

  understanding, whether formal or informal, between two or more persons, together with all

  modifications and amendments thereto.

             2.    “All” should be construed to include the collective as well as the singular,

  and means “each,” “any,” and “every.”

             3.    “Co-Conspirators” include: Surgical Care Affiliates, LLC; SCAI Holdings,

  LLC; UnitedHealth Group; Andrew Hayek; United Surgical Partners Holding Company,

  Inc.; United Surgical Partners International, Inc.; Tenet Healthcare Corporation; DaVita,

  Inc.; Kent Thiry; and the true identities of the Doe defendants identified in Plaintiffs’

  Consolidated Amended Complaint.

             4.    “Communication” means oral or written communications of any kind,

  including without limitation, electronic communications, e-mails, facsimiles, telephone

  communications, correspondence, exchanges of written or recorded information, or face-to-

  face meetings.

             5.    “Competing Employer” means any entity that employs people to work

  in outpatient medical centers/ambulatory surgery centers, including the Defendants

  herein.

             6.    “Document” includes, without limitation, the original (or identical

  duplicate when the original is not available) and all non-identical copies (whether

  non-identical because of notes made on copies or attached comments, annotations,

  marks, transmission notation, or highlighting of any kind) and drafts of all writings,



                                                   -1-
 2425721.2
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 6 of 10




  whether handwritten, typed, printed or otherwise produced, and includes, without

  limitation, letters, correspondence, memoranda, legal pleadings, notes, reports,

  agreements, calendars, diaries, travel or expense records, summaries, records,

  messages or logs of telephone calls, conversations or interviews, telegrams, instant

  messages, text messages (SMS or other), mailgrams, facsimile transmissions

  (including cover sheets and confirmations), electronic mail, minutes or records of

  meetings, compilations, notebooks, laboratory notebooks, work papers, books,

  pamphlets, brochures, circulars, manuals, instructions, sales, advertising or

  promotional literature or materials, ledgers, graphs, charts, blue prints, drawings,

  sketches, photographs, film and sound reproductions, tape recordings, or any other

  tangible materials on which there is any recording or writing of any sort. The term

  also includes the file, folder tabs, and/or containers and labels appended to, or

  associated with, any physical storage device associated with each original and/or

  copy of all documents requested herein.

             7.    “DOJ Indictments” means the indictments filed in United States of America v.

  Surgical Care Affiliates, LLC, et al., No. 3-21-cr-0011-L, Dkt. 1 (N.D. Tex. Jan. 5, 2021)

  (“SCA Indictment” or “DOJ Texas Action”) and United States v. DaVita Inc., et al., No. 21-

  cr-00229- RBJ (D. Colo. July 14, 2021) (“DaVita Indictment” or “DOJ Colorado Action”).

             8.    “DOJ Actions” means the investigations leading to or prosecutions resulting

  from the DOJ Indictments.

             9.    Electronically Stored Information (“ESI”) includes, without limitation,

  the following:

                   a.     activity listings of electronic mail receipts and/or transmittals;



                                                   -2-
 2425721.2
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 7 of 10




                   b.     output resulting from the use of any software program, including

  without limitation, word processing documents, spreadsheets, database files, charts, graphs

  and outlines, electronic mail, Slack (or similar program) or bulletin board programs, operating

  systems, source code, PRF files, PRC files, batch files, ASCII files, and all miscellaneous

  media on which they reside and regardless of whether such electronic data exist in an active

  file, deleted file, or file fragment; and

                   c.     any and all items stored on computer memories, hard disks, floppy

  disks, CD-ROM, magnetic tape, microfiche, or on any other vehicle for digital data storage

  and/or transmittal, including without limitation, cloud storage systems, a personal digital

  assistant, such as an iPhone, Palm Pilot, Blackberry, Treo or other device.

             10.   “Including” is used to illustrate a Request with particular types of

  documents requested, and should not be construed as limiting the Request in any way.

             11.   “Meeting” means, without limitation, any assembly, encounter, or

  contemporaneous presence (whether in person or via any electronic computer-assisted,

  digital, analog, or telephonic method of communication) of two or more persons for any

  purpose, whether planned, arranged, scheduled or not.

             12.   “Or” should be construed to require the broadest possible response, and should

  be read as “and/or.”

             13.   “Person” includes, without limitation, any natural person,

  corporation, partnership, government entity, and any other form of legal or

  business entity.

             14.   “Relating to,” “referring to,” “regarding,” or “with respect to” mean, without

  limitation, discussing, describing, reflecting, dealing with, pertaining to, analyzing,



                                                   -3-
 2425721.2
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 8 of 10




  evaluating, estimating, constituting, concerning, containing, mentioning, studying, surveying,

  projecting, assessing, recording, summarizing, criticizing, reporting, commenting or

  otherwise involving, in whole or in part.

              15.    “You” or “your” means the Department of Justice.

              16.    “Defendant” means any defendant in the DOJ Colorado Action, including

  DaVita, Inc. and Kent Thiry.


                                             INSTRUCTIONS

             1.     The instructions set forth in Rules 26 (to the extent applicable) and 45 of the

 Federal Rules of Civil Procedure are incorporated herein by reference.

             2.     You are directed to preserve documents referenced in the following Requests to

 Preserve Documents.

             3.     In preserving documents, you are to preserve all documents or things in the DOJ’s

 possession, custody, or control.

             4.     All documents shall be preserved in the same order as they are kept or maintained

 by you in the ordinary course of your business. All documents, other than electronically stored

 information, shall be preserved in the file folder, envelope or other container in which the

 documents are kept or maintained. If for any reason the container cannot be preserved, you

 should preserve copies of all labels or other identifying marks that may be present on the

 container.

             5.     If a document was prepared in several copies, or if additional copies were

 thereafter made, and if any such copies were not identical or are no longer identical by reason of

 subsequent notation or modification of any kind whatsoever, including, without limitation,




                                                     -4-
 2425721.2
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 9 of 10




 handwritten notations on the front or back of the document, all such non-identical copies shall be

 preserved.

             6.    Documents shall be preserved in such fashion as to identify the department,

 branch, or office in whose possession they were located and, where applicable, the natural person

 in whose possession they were found and the business address of each document’s custodian(s).

             7.    All electronically stored information should be produced as set forth in the ESI

 Protocol attached.

             8.    Documents attached to one another should not be separated. Each document

 requested should be preserved in its entirety and without deletion, redaction or excisions,

 regardless of whether you consider the entire document or only part of it to be relevant or

 responsive to these document preservation requests.

             9.    These requests are directed to you. The preservation of a document by another

 person does not relieve you from the obligation to preserve your own copy of the document,

 even if the two documents are otherwise identical.

             10.   The “Relevant Time Period” applicable to these Requests is (1) January 1, 2007 to

 the present for documents, unless specifically stated otherwise in the request; and (2) January 1,

 2005 to the present for data, unless specifically stated otherwise in the request. Each request shall

 be interpreted to include all documents that relate to the Relevant Time Period, even if such

 documents were prepared or published outside of the Relevant Time Period. If a document

 prepared before this period is necessary for a correct or complete understanding of any document

 covered by a request, you must produce the earlier document as well. If any document is undated

 and the date of its preparation cannot be determined, the document shall be preserved if it is

 otherwise responsive to the request.



                                                   -5-
 2425721.2
Case 1:21-cr-00229-RBJ Document 278-2 Filed 06/13/22 USDC Colorado Page 10 of 10




              11.   These requests to preserve documents are continuing and therefore require you (or

  any person acting on your behalf) to preserve documents responsive to these requests.

                         DOCUMENTS REQUESTED TO BE PRESERVED

               1.    All documentary or demonstrative evidence admitted or marked as exhibits in

   the DOJ Colorado Action.

               2.    All exhibit lists in the DOJ Colorado Action.

               3.    All documentary or demonstrative exhibits set forth on the exhibit lists requested

   by Request No. 2 herein.

               4.    All documents or other material that You produced to a Defendant as part of or in

   connection with the DOJ Colorado Action.




                                                     -6-
  2425721.2
